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     PRICEWATERHOUSECOOPERS LLP
13
                                UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15
     STEVE RABIN and JOHN CHAPMAN, on behalf              Case No. 3:16-cv-02276-JST
16   of themselves, and all others similarly situated,
                                                          Hon. Jon S. Tigar
17            Plaintiff,
                                                          JOINT STIPULATION & [PROPOSED]
18                 v.                                     ORDER RE AGE PROXY AND
                                                          COMPARATORS
19   PRICEWATERHOUSECOOPERS LLP,
20            Defendant.
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     JOINT STIPULATION & [PROPOSED] ORDER                                CASE NO. 3:16-CV-02276-JST
     RE AGE PROXY AND COMPARATORS
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     JOINT STIPULATION & [PROPOSED] ORDER         CASE NO. 3:16-CV-02276-JST
     RE AGE PROXY AND COMPARATORS
 1           Plaintiffs Steve Rabin and John Chapman (“Plaintiffs”) and Defendant
 2   PricewaterhouseCoopers LLP (“PwC”) (collectively, the “Parties”) hereby stipulate as follows:
 3           WHEREAS, on April 19, 2017, the Court denied Plaintiffs’ request for PwC’s entire
 4   applicant database and ordered that, at this pre-conditional certification stage, the Parties should
 5   pursue an agreed-upon two-step process for Plaintiffs’ selection of an age proxy and for PwC’s
 6   production of information from certain data fields related to potential class members and their
 7   comparators. Dkt. No. 105 (“Discovery Order”) at 3;
 8           WHEREAS, the Parties are in discussions about an age proxy, including about the propriety
 9   and substance of Plaintiffs’ request for additional information about PwC’s applicant database, as
10   well as the next question of what constitutes an appropriate “comparator” for purposes of providing
11   data at this stage;
12           WHEREAS, if the Parties do not reach agreement on these issues, they will submit a joint
13   letter brief on May 23, 2017, presenting their disagreement;
14           NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED THAT, the Parties’
15   briefing on these issues shall adhere to the following schedule:
16       •   May 10 and 12, 2017 -- Plaintiffs provided PwC with an update on Plaintiffs’ position on the
             age proxy and comparator issues;
17
         •   May 16, 2017 -- PwC to provide Plaintiffs with any revision to its position on the age proxy
18           and comparator issues;
19       •   May 18, 2017 -- Plaintiffs to provide PwC with initial text for the joint letter brief to the
             Court, including legal argument and attachments;
20
         •   May 22, 2017 -- PwC to provide Plaintiffs with initial text for the joint letter brief to the
21           Court, including legal argument and attachments; and
22       •   May 26, 2017, by 3:00 p.m. PT -- the Parties to file the joint letter brief.
23           To the extent that the Parties’ negotiations in the interim are productive, the Parties may
24   inform the Court and request an extension of these dates.
25           Finally, given that there are two issues under consideration and given the substance of the
26   issues, the Parties request that each side be allowed up to five pages, in total, for briefing them.
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     JOINT STIPULATION & [PROPOSED] ORDER               1                      CASE NO. 3:16-CV-02276-JST
     RE AGE PROXY AND COMPARATORS
 1   Dated: May 12, 2017
 2   /s/ Jahan C. Sagafi                          /s/ Gabor Balassa
 3
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 9                                                Email: christina.briesacher@kirkland.com
                                                  Email: mark.premohopkins@kirkland.com
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     Adam T. Klein (admitted pro hac vice)        Michael P. Esser (SBN 268634)
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27   Attorneys for Plaintiff and Proposed Class
     and Collective Members
28

     JOINT STIPULATION & [PROPOSED] ORDER          2                   CASE NO. 3:16-CV-02276-JST
     RE AGE PROXY AND COMPARATORS
 1                                               ORDER
 2   Pursuant to the Stipulation, it is so ORDERED.
 3
            May15
     Dated: May __,
                16,2017
                    2017                        By:
 4
                                                          The Honorable Jon S. Tigar
 5                                                        UNITED STATES DISTRICT JUDGE

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     JOINT STIPULATION & [PROPOSED] ORDER             3               CASE NO. 3:16-CV-02276-JST
     RE AGE PROXY AND COMPARATORS
